53 F.3d 328NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Lemuel L. COLE, Plaintiff-Appellant,v.UNITED STATES MARSHAL SERVICE, Defendant-Appellee.
    No. 94-2442.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 20, 1995.Decided:  May 10, 1995.
    
      Lemuel L. Cole, Appellant Pro Se.  Jeri Kaylene Somers, OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, VA, for Appellee.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his Complaint against the United States Marshal Service raising claims under the Federal Tort Claims Act, 28 U.S.C.A. Secs. 2671-2680 (West 1994), and breach of contract.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Cole v. United States Marshal Service, No. CA-94-533-AM (E.D. Va.  Sept. 15, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    